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In the Qnited States District Court
for the Southern District of Georgia
Brunswick Dibision

STATE FARM MUTUAL AUTOMOBILE
INSURANCE COMPANY, as subrogee
of Suleiman Solomon,

CV 223-124
Plaintiff,

Vv.

UNITED STATES OF AMERICA,

Defendant.
ORDER

Before the Court is Plaintiff State Farm Mutual Automobile
Insurance Company’s notice of voluntary dismissal, dkt. no. 7,
wherein it notifies the Court that it wishes to dismiss this
action with prejudice. The notice complies with Federal Rule of
Civil Procedure 41(a)(1)(A)(i) (dismissal before an opposing
party serves an answer or motion for summary judgment).
Accordingly, all claims asserted in this action are DISMISSED
with prejudice. Each party shall bear its own fees and costs.
The Clerk is DIRECTED to close this case.

SO ORDERED, this 25 day of Mare 2024

HON {Jase GODBEY WOOD, JUDGE
UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF GEORGIA
